Case 2:04-cr-20399-.]PI\/| Document 28 Filed 06/20/05 Page 1 of 3

Page|D 29

 

 

iN THE UNITEI) sTATEs DISTRICT coURT F"“ED *'3`?' ,, .J,C_
F0R THE WESTERN DIsTRICT 0F TENNESSEE 05 JU
WESTERN DIvIsIoN ll 39 PM ;_>.- 97
noagm- H ry
m , , }_, -\l
\?'ae“é;:::.».~-h a§'loé’?
' rt MEMPHJS'
UNITED srArEs oF AMERiCA )
)
Plainriff, )
)
vs ) CR. No. 04-20399-1:)
)
MARTY MARMON )
)
Defendant. )
oRDER To sURRENDER

 

The defendant, Marty Marnion, having been sentenced in the above case to the custody of the

Bureau of Prisons and having been granted leave by the Court to report to the designated facility,

IS HEREBY ORDERED to surrender to the Bureau of Prisons by reporting to the FCI Yazoo City,

P.O. Box 5050, Yazoo City, Mississippi 39194 by 2:00 p.m. on FR]DAY, FEBRUARY 3, 2006.

IT IS FURTHER ORDERED that upon receipt of a copy of this Order the defendant shall

report immediately to the Oft`ice of the Clerk, Federal Office Building, 167 N. Mai.n Street, Room 242,

Memphis, Tennessee 38103 to acknowledge by signature receipt of a copy of this Order and that the

defendant will report as ordered to the facility named above.

ENTERED this mng day ofJune, 2005.

 

UNITED STATES DISTRICT .IU GE

This document entered on the docket&hejt§'g Tp.:¢a£je
with Hu|e 55 andfor 32(b) FRCrP on 2

@

Case 2:O4-cr-20399-.]P|\/| Document 28 Filed 06/20/05 Page 2 of 3 Page|D 30

ACKNOWLEDGEMENT

I agree to report as directed above and understand that
if I fail to report, l may be cited for contempt of
Court and if convicted, may be punished by
imprisonment, fine or both.

Signed and acknowledged before me on

 

 

 

Clerk/])eputy Clerk Defendant

     

UNITED sTATE DISTRIC COURT - WESTERN D'S'TRCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy oi` the document docketed as number 28 in
case 2:04-CR-20399 Was distributed by i`aX, mail, or direct printing on
June 2l , 2005 to the parties listed.

 

 

Needum Louis Germany
FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

l\/iemphis7 TN 38103

David Pritchard

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

l\/iemphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

